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 9                          UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
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12     JAMES RUTHERFORD,                  Case No. 5:20-cv-01746-JGB-SP
13
             Plaintiff,                       ORDER RE DISMISSAL WITH
14
                                              PREJUDICE
15     vs.
16     VKND KENDALL LLC, a
17     California limited liability
       company; and DOES 1-10,
18     inclusive,
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             Defendants.
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                                      ORDER RE
                              DISMISSAL WITH PREJUDICE
     Case 5:20-cv-01746-JGB-SP Document 52 Filed 01/04/22 Page 2 of 2 Page ID #:596


 1          After consideration of the Joint Stipulation for Dismissal of the entire action

 2    with Prejudice filed by Plaintiff James Rutherford (“Plaintiff”) and VKND Kendall
 3
      LLC (“Defendant”), the Court hereby enters a dismissal with prejudice of Plaintiff’s
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 5    Complaint in the above-entitled action, in its entirety. Each party shall bear his or its

 6    own costs and attorneys’ fees.
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 8          IT IS SO ORDERED.
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      DATED: January 4, 2022
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                                       UNITED STATES DISTRICT JUDGE
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                                       ORDER RE
                               DISMISSAL WITH PREJUDICE
